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FD-1057 (Rev. 5-8- 10)


                             FEDERAL BUREAU OF INVESTIGATION
                                                 Electronic Communication




           Title:        •     Con s e n t search of 3003 Spille rs Ave #B ,     Date:   05/07/2020
                             p a, FL 3361 9

           From:         TAMPA




           Drafted By:           JONES DEANA MARIE




          Synopsis:          -        To document the consent search of 3003 Spil l ers Ave #B,
          Tampa , FL         Jffl 9




           Enclosure(s): Enclosed are the following items :
           1.      Consent to search
           2.      Disc containing photographs take during search

          Details:

          On 1 May 2 02 0 into 2 May 20 2 0 , a consent search of the residence located
          at 30 0 3 Sp i llers Ave #B, Tampa , FL 33619 was executed . The con sent to
          search was provided by Muna Alazhari , both verba l ly and through a signed
          FD- 26 Consent to Search form . The search included the following
          participant s :

                SA Me l issa Fair , FBI




                                                                                                  DISC-02495
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 Title :                   search o f 3003 Spil l ers Ave #B, Tampa , FL 33619
 Re :                      , 05/07/2020



      SA Dean a Jone s , FBI

 On 1 May 2020 , at approximately 9 : 40pm , Muhammed Alazhari con t acted Muna
 telephon i c a lly f r om t h e Hillsborough Count y Sher i ff ' s Office - Orient
 Road Jail . Alazhari told Muna he had a " toy " i n his car and o t her '' toys "
 at his res i dence , 3003 Spillers Ave #B , Tampa , FL 33619 .
 Mu n a bel i e v ed when Al a zhari sa i d " toys " h e was r e fer r ing t o
 guns . Alazhari asked Muna to come to the Or i ent ja i l that evening and he
 would a uthoriz e h e r to ge t h i s ke ys for his vehicl e a nd res i d e nce .
 Alazhari asked Muna to get r i d of the " toys " a n d take everything .
 Mu n a su r mi s ed Ala zha ri , upon release from j a il , would fl ee from Tamp a.

 On 1 May 2020 , at approximatel y 9 : 46pm Mun a contac t ed SA Fair via text m
 essage . SA Fair t h en spoke to Muna telephon i cally . Mu na told SA Fair she
 did not know what to do about ge t ting the " toys " a n d other items Alazhari
 asked her to get rid of . Muna asked if she should call the police to help
 h e r disc a rd t he g u ns or if the FBI cou ld h elp . SA Fair told Mun a SA Fa i r
 cou l d he l p if that made her feel better . SA Fair agreed to meet Muna at
 t h e Orient j a il .

 SA Fair and SA Jones made contact with Alazhari at approximately 11 : 18pm
 a t the Or ient J a il , loca ted a t 1201 Or ien t Rd , Tampa , FL 33619 .
 Muna attempted to obtain Alazhari ' s keys, but they were not part of his
 possessions in i nventory .

 Muna advi sed although she did n o t have th e keys , she wanted t h e agents to
 go with her to Alazhari ' s house and try and get the guns . Muna advised
 s h e wou ld t ry the doo r a nd wi ndows to s e e i f a n y were unlocked . At
 approximately 11 : 33 , agents fo l lowed Muna in her vehicle to Alazhari ' s
 r e s i de n c e.

 At approxima t ely 11 : 49pm , Muna and Agents arrived Alazhari ' s residence ,
 3003 Spi l lers Ave , Tampa , FL 33619 . Mu na provided con sent to search the




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 Title :                    search of 3003 Spil l ers Ave #B, Tampa , FL 33619
 Re :                       , 05/07/2020



 r e s i d enc e a t app r ox i ma t e ly 1 1: 51pm a nd Mun a a nd a gen t s e n t ered the
 residence .

 Th e follow i ng i tems were loc a ted inside t h e reside n ce :

      - One (1 ) Whit e plastic tra s h bag con t a i ni n g miscellan eous paperwork

      - One ( l } Alcatel Joy Tab Smart Phone box - ALC9029Z JoyTab 32GB
 BLK TMUS Ki t     (IMEI : 01560800 1 890675}

      - One ( l } White plastic shopping bag containing miscellaneous
 paperwork

      - One (1 ) box of Ramset 22 cal (Ramse t Masters h o t, Triggershot ,
 Hammershot }; 82 rounds

      - One    (1 ) Re mington 22 Golden Bullet (22 Long rifl e ) ; 5 rounds

      - One ( l } Dark blue Verizon Nokia ( I MEI : 359019090138485)

      - One ( l } Horn ady 99mm Lugar 115gr FMJ ammun i tion

      - One    (1 ) Black c r ossbow (small}

      - One ( l } Black 22 cal Walther Uzi (S/N : W100 2 377)

      - One (1 ) Dodgers notebook

      - One ( l } Ye llow subject notebook

      - One (1 ) White/gold notebook

      - One    (1 ) Purpl e /blue composit i on not e book

      - One (1 ) Black notebook

      - One (1 } Small black memo book




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 Title :                   search of 3003 Spillers Ave #B, Tampa , FL 33619
 Re :                      , 05/07/2020



     - One (1 ) Butt stock with Army green sling

     - One (1 ) Black kni f e in Army green case

     - One (1 ) Tactical stun gun (black)

     - One     (1 ) 22 Walther magaz i n e with 20 rounds+ 1 in gun c hamber

     - One (1 ) Milwaukee knife

     - One (1 ) Milwaukee knife with black cover

     - One (1 ) Red/black pocket knife (r a zor tactica l )

     - One (1) Dewalt knife

     - One (1 ) Black Beanie

     - One (1 ) IBM mouse for computer

     - One (1 ) Spectrum wifi network info card

     - One     (1 ) Black Lenovo La p t op , serial# PFOK4 J 7Y; model# PF9xB6Al9005

     - One (1 ) Black Lenovo Laptop charger , serial# (IS)GX20K11838R304X0VQ

     - One (1 ) SAM A205U 32G Blk TMUS kit       (white box) ; IMEI :
           3527411157440 7 3

 Muna was present during the entire search process .

 At the conclusi on of t h e search of 3003 Spi l le r s Ave #B, Tampa, FL 336 1 9 ,
 the above - identified items were secured and transpor t ed to FBI Tampa ,
 5525 W. Gra y Street , Tampa , FL 33609 .

 A copy of t he consent form and a disc con t aining pho t ographs t aken during
 the search are attached as a lA for i n c l usion in the case f i le .




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                                                                                 DISC - 02498
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 Re :                  , 05/07/2020




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FD-26 (Rev. 7- 20-94)




                                                    DEPARTMENT OF JUSTICE
                                           FEDERAL BUREAU OF INVESTIGATION

                                                 CONSENT TO SEARCH


        1.     I have been asked by Special Agents of the Federal Bureau of
               Investigation to permit a complete search of:
             (Describe the person(s) , place(s), or thing(s) to be searched.)




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        2.     I have been advised of my right to refuse consent.
        3.     I give this permission voluntarily.

        4.     I authorize these agents to take any items which they determine may
               be related to their investigation.




                               Witness                                                          }




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                 Physical lA/lC Cover Sheet for Serial Export



 Created From:
                             Serial 176
 Package:                    lAllO
 Stored Location:            None
 Summary:                    -   Consent to Search
                             (FD-26) and photographs
 Acquired By:                MELISSA MCMULLEN FAIR
 Acquired On:                2020-05-01
 Attachment:                 -    Disc containing
                             photographs take during
                              search




                                                                            DISC-02501
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                                                                       lug Bnel secure lhe clasp.
                                                                       e lest Jack. Normal operation •hows '
                                                                      Ji·, I~~:'.'! does not operate, replace
                                                                      ES DEL ABON~DQ
                         CONEXION:                                      •,        ue1 zocaI0 de P<U<'ba durante
                                                                        :if'\Llra\'e   telefonico.,
                                     lnserte en los coloras CQ<respc,!\dientes los extremos de los alambres
                                     pelados entre ';;s arandelas de las conex,ones. Apretar los torn, las
                         PRUEBA:     firm emente. Reoaner el enchute y suIeta• la lraba.
                                     Enchufe un telalon, operable en el zocalo de PI\Jeba s, tunclona 10-
                           253105    d1ca que la linea lelelomca opera normalmente En caso con1rar1o
                                     reponer el enchufe con la traba y Hamar al S""'1clo de raparaciones




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                                     pelados entre   JS   arandtla.s de las COfHOOCll"les,   A.pretl,'   los kwnii
                                     '-.rmemente_ Reooner el enchuta y su1Ma~ la lTBbl..
                                     Eochute un t&l"!~, operable en el zocalo de prueba. S1 fuf'ICIOr\i in--
                                     d1ca que la line.a telefonica opera normalmen1e. En caso oonttano
                                     reponer el enchufe con la traba y llamar al seMCio de reparaoones..




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                                                                     stripped wires between washers and
                                                                    lug and secure the clasp.
                                                                    e test Jack. Normal operation shows
                                                                   )y.If phone does not operate, replace
                                                                   air servh..e.

                                                                    ES Di:;L ABONADO
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                                                                    1 1' , llel zocalo de pruc:>ba durante
                     CONEXION:                                     ,mbrave telefonlco.
                                 Insane en los colore.s
                                                1
                                                        correspondientes    las extremes de las alambres
                                 pelados entre as arandelas de las conexiones. Apretar los tornillos
                                 firmemente. Reponer el enchufe y sujeta-- la traba.
                     PRUEBA:
                                 Enchufe un te1~fon:" operable en el zocalo de prueba. Si funclona i~-
                                 dica que la linea telefonica opera normalmente. En caso contrano
                                 reponer el enchufe con la traba y llamar al servicio de reparaciones.




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                                                                                                             DISC-02588
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